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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


     ELIZABETH SINES, et al.,
                                                        CASE NO. 3:17-cv-00072
                                     Plaintiffs,

                          v.                            AMENDED PRETRIAL ORDER

     JASON KESSLER, et al.,
                                                        JUDGE NORMAN K. MOON
                                      Defendants.



         Upon consideration of the Plaintiffs’ proposed amended pretrial schedule, Dkt. 981,

  which was submitted without opposition except Defendant Christopher Cantwell, Dkt. 987, and

  further finding good cause shown and that establishing the following case deadlines will promote

  efficient preparation for the jury trial between October 25 and November 19, 2021 at the federal

  courthouse in Charlottesville, the Court directs the parties to comply with the following pretrial

  schedule:

         1. The parties shall file proposed questions to be included in a questionnaire the Court
            will send to prospective jurors on or before August 24, 2021.

         2. The parties shall exchange and file witness lists on or before September 7, 2021.

         3. The parties shall exchange and file exhibit lists on or before September 14, 2021.

         4. Any motions in limine shall be filed on or before October 4, 2021.

         5. Deposition designations shall be filed on or before October 4, 2021.

         6. Counter-designations and objections to deposition designations shall be filed on or
            before October 12, 2021.

         7. Challenges to any designations made under the protective order (Dkt. 167) shall be
            filed on or before October 12, 2021.

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         8. Proposed jury instructions, special interrogatories, and a proposed verdict form shall
            be filed on or before October 12, 2021.

         9. Responses in opposition to motions in limine shall be filed on or before October 12,
            2021.

         10. The parties shall file proposed voir dire questions on or before October 12, 2021.

         11. Integrated Pretrial Order, submitted jointly by the parties, shall be filed on or before
             October 18, 2021.

         12. Responses to any challenges to any designations made under the protective order
             (Dkt. 167), shall be filed on or before October 19, 2021.

         13. Objections to any counter-designations shall be filed on or before October 19, 2021.

         14. If needed, a final pretrial conference shall tentatively be set for October 22, 2021,
             at 9:30 a.m., by Zoom.

  The Court’s earlier pretrial orders, e.g., Dkt. 101, are amended as set forth above, and in all

  other respects shall remain unaltered.

         Defense counsel are further encouraged to arrange and participate in meet and confer(s)

  between and among all Defendants, in an attempt to secure a coordinated defense position on any

  of the above submissions, to the greatest extent practicable.

         It is so ORDERED.

         The Clerk of Court is directed to send a certified copy of this Order to the parties.

         Entered this 15th     day of July, 2021.




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